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1111 THE uN:TEo STATES olSTRICT coL)RT

FOR THE WESTERN D|STR|CT OF TENNESSE|§‘NU 1'11'1 /3 F 1 15 135
WESTERN D|V|S|ON

*

UN|TED STATES OF A|V|ER|CA,

 

P|eintiff, *

Crim 1\10. 02- 20448" 1§
V.

W|LLlEANN D. |VfAD|SON,

Defendant. *

 

SECOND ORDER UNSEAL|NG DOCUMENTS

Upon motlon ofthe United States, the following documents, previously filed by the

Unlted States under see|, are hereby ORDERED UNSEALED:

1. |\/lotlon for |ssuance of Pre|iminery Order of Forfelture and |Vlemorandum in

Support (R.337);1

2. Preliminary Order of Forfeiture (R.349); '

3. Ex Parte App|ication for Post-Conviction Restreining Order (R 336)'
4. Post-Conviction Restreining Order (R.338)“
ThisL day of man/ , 2005.

 

with Flu|e 55 and/or 32(b) FRCrP on

 

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By:

Approved:

TERRELL L. HARR|S
United States Attorney

1///@1%/

ristopher E. Cotten
Assistant United States Attorney

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 381 in
case 2:02-CR-20448 Was distributed by faX, mail, or direct printing on

May 5, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

